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                                    UNITED STATES DISTRICT COURT
                                     DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                       )
                                                )
                          v.                    )       Crim. No. 16-10137-LTS
                                                )
(1) KENNETH BRISSETTE, and                      )
(2) TIMOTHY SULLIVAN                            )
                                                )

                                          STATUS REPORT

             The United States of America, by William D. Weinreb, Acting United States Attorney,

and Laura J. Kaplan and Kristina E. Barclay, Assistant United States Attorneys for the District of

Massachusetts, submits this Status Report pursuant to the Court’s November 21, 2017 Order

requiring the government to file a status report setting forth the parties’ joint or separate

positions as to the effect, if any, of the Second Superseding Indictment on the trial date, the

pretrial schedule, pending motions, or any other matter. Undersigned counsel has conferred

with counsel for defendants and the parties’ positions regarding the effect of the Second

Superseding Indictment are as follows:

             Defendants: It is defendants’ position that the Second Superseding Indictment, which

includes new language regarding an “extension of its licensing agreement” and adjustments to

the property allegations, necessitates a 30-day extension of the trial date and pretrial schedule in

order to allow defendants to complete discovery into the new allegations and supplement their

renewed motions to dismiss. Should the Court order a 30-day extension on the pretrial schedule

and trial date, defendants propose that they file any renewed motions to dismiss on December 18,

2017; the government file its opposition on January 2, 2018; reply briefs be filed on January 5,

2018; and the Court hold a hearing on the renewed motions as well as the motions currently

pending the week of January 8, 2018. Defendants further propose that the parties confer on any

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outstanding discovery issues and raise any discovery motions or requests for further particulars

in a time frame consistent with their proposed briefing schedule on the renewed motions to

dismiss.

             Government: It is the government’s position that the changes to the Second

Superseding Indictment have no material effect on discovery or on defendants’ pending motions.

The effect of the licensing agreement was briefed extensively by the parties in January and

February 2017. See Docket Nos. 82-84, 86. Accordingly, the government opposes any

continuance of the trial date and pretrial deadlines.

             Parties’ Availability: In the event the Court grants defendants’ request to continue the

trial date, the government submits that Kristina E. Barclay, one of the prosecutors assigned to

this case, is scheduled for trial in United States v. DeCicco, 17-cr-10092-NMG, on February 12,

2018. It is anticipated that the trial will last approximately one week. Counsel for defendant

Timothy Sullivan has a trial beginning on February 26, 2018 in United States v. Ackerly et al.,

16-cr-10233-RGS, that is currently estimated to last approximately two weeks. All counsel are

available for trial in this matter on or after March 26, 2018. Should the Court reset trial on or

after that date, the parties will submit a proposed briefing schedule for the renewed motions to

dismiss.

                                                  Respectfully submitted,

                                                  WILLIAM D. WEINREB
                                                  Acting United States Attorney

                                          By:     /s/Kristina E. Barclay
                                                  Laura J. Kaplan
                                                  Kristina E. Barclay
                                                  Assistant U.S. Attorneys
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                                    CERTIFICATE OF SERVICE

       I hereby certify that, on the date below, this document was served on counsel for the
defendant by electronic mail.

                                                    /s/ Kristina E. Barclay
                                                    KRISTINA E. BARCLAY
                                                    Assistant U.S. Attorney

Dated: December 1, 2017




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